                                                                                           Case 2:19-cv-09281-MWF-JDE Document 1 Filed 10/29/19 Page 1 of 21 Page ID #:1




                                                                                             1
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                                                                                                 LIPCON MARGULIES ALSINA & WINKLEMAN
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                                                                                             3
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                                                                                             5   Email: cfinklehoffe@lipcon.com
                                                                                                 Attorneys for Plaintiff
                                                                                             6

                                                                                             7                        UNITED STATES DISTRICT COURT
                                                                                             8                     CENTRAL DISTRICT OF CALOFORNIA
                                                                                             9
LIPCON, MARGULIES, ALSINA & WINKLEMAN P.A.




                                                                                            10 JELENA FILIPOVIC,                                     CASE NO.:
                                             TELEPHONE: (305)373-3016 FAX: (305)373-6204




                                                                                            11
                                                                                                             Plaintiff,                              PLAINTIFF’S COMPLAINT
                                                  2 S Biscayne Boulevard, Suite 1776




                                                                                            12

                                                                                            13 vs.                                                   AND DEMAND FOR JURY TRIAL
                                                           MIAMI, FL 33131




                                                                                            14 CRYSTAL CRUISES, LLC, a

                                                                                            15 corporation for profit;
                                                                                                 INTERNATIONAL CRUISE
                                                                                            16 SERVICES LTD (BAHAMAS), a

                                                                                            17 corporation for profit; CRYSTAL
                                                                                                 CRUISES MANNING AS, a corporation
                                                                                            18 for profit,
                                                                                            19
                                                                                                             Defendants.
                                                                                            20

                                                                                            21                    COMPLAINT AND DEMAND FOR JURY TRIAL
                                                                                            22
                                                                                                      Plaintiff, JELENA FILIPOVIC, brings this action individually. This action is
                                                                                            23

                                                                                            24 brought against Defendants CRYSTAL CRUISES, LLC, a corporation for profit;

                                                                                            25 INTERNATIONAL CRUISE SERVICES LTD, a corporation for profit; and

                                                                                            26
                                                                                                 CRYSTAL CRUISES MANNING AS, a corporation for profit,
                                                                                            27

                                                                                            28
                                                                                                                                                 1
                                                                                                                           Plaintiff’s Complaint and Demand for Jury Trial
                                                                                           Case 2:19-cv-09281-MWF-JDE Document 1 Filed 10/29/19 Page 2 of 21 Page ID #:2




                                                                                             1
                                                                                                 for personal injuries sustained by Plaintiff JELENA FILIPOVIC while performing

                                                                                             2 her duties as a seaman for Defendants.               Plaintiff, JELENA FILIPOVIC, seeks
                                                                                             3
                                                                                                 damages and demands a jury trial on all issues so triable against Defendants.
                                                                                             4

                                                                                             5                               Jurisdiction and the Parties

                                                                                             6         1.    Plaintiff, JELENA FILIPOVIC, is a citizen of Serbia.
                                                                                             7
                                                                                                       2.    Defendant CRYSTAL CRUISES, LLC, (“CRYSTAL”) was and is a for
                                                                                             8

                                                                                             9 profit California company with its principle place of business and worldwide
LIPCON, MARGULIES, ALSINA & WINKLEMAN P.A.




                                                                                            10 headquarters in Los Angeles County, California.
                                             TELEPHONE: (305)373-3016 FAX: (305)373-6204




                                                                                            11
                                                                                                       3.    Defendant INTERNATIONAL CRUISE SERVICES LTD (“ICSL”),
                                                  2 S Biscayne Boulevard, Suite 1776




                                                                                            12

                                                                                            13 was and is a foreign corporation conducting business in California.
                                                           MIAMI, FL 33131




                                                                                            14         4.    Defendant CRYSTAL CRUISES MANNING AS (“CCM”) was and is
                                                                                            15
                                                                                                 a corporation conducting business in California.                  CCM is wholly owned by
                                                                                            16

                                                                                            17 CRYSTAL. CCM is an agent and/or representative of ISCL.

                                                                                            18         5.    Defendants at all times material hereto, personally or through an agent:
                                                                                            19
                                                                                                       a.    Operated, conducted, engaged in or carried on a business venture in this
                                                                                            20

                                                                                            21               state and/or county or had an office or agency in this state and/or county;
                                                                                            22         b.    Was engaged in substantial activity within this state;
                                                                                            23
                                                                                                       c.    Operated vessels in the waters of this state;
                                                                                            24

                                                                                            25         d.    Purposefully availed themselves of the benefits of conducting activities
                                                                                            26               in California by purposefully directing their activities toward the state,
                                                                                            27
                                                                                                             thereby obtaining the benefits and protections of the state’s laws;
                                                                                            28
                                                                                                                                                2
                                                                                                                          Plaintiff’s Complaint and Demand for Jury Trial
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                                                                                             1
                                                                                                        e.    The acts of the Defendants set out in this Complaint occurred in whole

                                                                                             2                or in part in this state and/or county;
                                                                                             3
                                                                                                        6.    This is an action for damages in excess of this Court’s jurisdictional
                                                                                             4

                                                                                             5 minimum, and is otherwise within the jurisdiction of this Court. Jurisdiction and

                                                                                             6 venue are proper in this County and district pursuant to sections 410.10, 395, and

                                                                                             7
                                                                                                 395.5 of the Civil Code in that the Defendants reside or do business in this County,
                                                                                             8

                                                                                             9 and the aggregate amount of the claims exceed the jurisdictional minimum of this
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                                                                                            10 Court.
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                                                                                            11
                                                                                                        7.    All conditions precedent for filing and maintaining the instant action
                                                  2 S Biscayne Boulevard, Suite 1776




                                                                                            12

                                                                                            13 have been fulfilled, performed, or waived.
                                                           MIAMI, FL 33131




                                                                                            14          8.    The causes of action asserted in this Complaint arise under the Jones Act,
                                                                                            15
                                                                                                 46 U.S.C. §30104, the General Maritime Law of the United States, and the laws of
                                                                                            16

                                                                                            17 California as applicable.

                                                                                            18                               GENERAL ALLEGATIONS
                                                                                            19
                                                                                                                                 Plaintiff’s Employment
                                                                                            20

                                                                                            21          9.    At all times material hereto, Defendant CRYSTAL owned, operated,
                                                                                            22 managed, maintained and/or controlled the vessel Crystal Serenity (“the Serenity”).

                                                                                            23
                                                                                                        10.   At all times material hereto, Plaintiff was employed as a seaman and was
                                                                                            24

                                                                                            25 a member of the crew aboard Serenity in its service in the capacity of bar waitress. At

                                                                                            26 all times material hereto, the Serenity was in navigable waters.
                                                                                            27
                                                                                                        11.   On or about July 24, 2018, the Plaintiff entered into an Employment
                                                                                            28
                                                                                                                                                 3
                                                                                                                           Plaintiff’s Complaint and Demand for Jury Trial
                                                                                           Case 2:19-cv-09281-MWF-JDE Document 1 Filed 10/29/19 Page 4 of 21 Page ID #:4




                                                                                             1
                                                                                                 Contract with ICSL. Insofar as Plaintiff was not formally employed by CRYSTAL

                                                                                             2 or CCM, the Plaintiff was a borrowed servant and subject to Defendants’ control.1

                                                                                             3
                                                                                                            12.      The Employment Contact incorporates and adopts the terms and
                                                                                             4

                                                                                             5 conditions of a Collective Bargaining Agreement (“CBA”) which was entered into by

                                                                                             6 CCM “for and on behalf” of ISCL and by its terms applies to all seafarers employed

                                                                                             7
                                                                                                 on vessels operated by CRYSTAL, including the Serenity.
                                                                                             8

                                                                                             9              13.      The CBA defines seafarer to mean “any person who is employed or
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                                                                                            10 engaged or works in any capacity aboard a vessel to which the agreement applies.”
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                                                                                            11
                                                                                                 The CBA also defines “Ship Owner/Company” to mean the owner of the vessel or
                                                  2 S Biscayne Boulevard, Suite 1776




                                                                                            12

                                                                                            13 another organization or person, such as the manager, agent or bareboat charter who
                                                           MIAMI, FL 33131




                                                                                            14 has assumed the responsibility for the operation of the vessel from the owner.”

                                                                                            15
                                                                                                            14.      The CBA provides that crewmembers, such as Plaintiff, who are
                                                                                            16

                                                                                            17 discharged due to sickness or injury, shall be entitled to medical treatment,

                                                                                            18 maintenance and sick wages. Further that “the Company” will pay medical treatment
                                                                                            19
                                                                                                 and maintenance until the seafarer reaches Maximum Medical Cure. This is referred
                                                                                            20

                                                                                            21 to as the provision of Maintenance and Cure.

                                                                                            22              15.      The CBA also provides that the Company will not violate any provision
                                                                                            23
                                                                                                 contained with the Maritime Labour Convention, 2006 (MLC). The MLC entitles
                                                                                            24

                                                                                            25

                                                                                            26
                                                                                                 1
                                                                                                     It is well established that a seaman may have and allege more than one employer for purposes of the Jones Act. See
                                                                                            27 Spinks v. Chevron Oil Co., 507 F.2d 216 (5 Cir. 1975) “[A] seaman may have more than one Jones Act employer. . . .
                                                                                                                                         th

                                                                                                 The Defendant can sort out which between them will bear the final cost of recovery, either through common law
                                                                                            28 indemnity or contribution principles, or contractual provisions . . . .”)
                                                                                                                                                           4
                                                                                                                                     Plaintiff’s Complaint and Demand for Jury Trial
                                                                                           Case 2:19-cv-09281-MWF-JDE Document 1 Filed 10/29/19 Page 5 of 21 Page ID #:5




                                                                                             1
                                                                                                 seafarers, including Plaintiff, to Maintenance and Cure benefits and sick wages.

                                                                                             2         16.    The CBA further provides that all claims relating to or connected with
                                                                                             3
                                                                                                 the seafarer’s services for “the Company” shall be resolved by arbitration pursuant to
                                                                                             4

                                                                                             5 the United Nations Convention on Recognition and Enforcement of Foreign Arbitral

                                                                                             6 Awards (New York 1958) except actions to compel arbitration or to enforce the

                                                                                             7
                                                                                                 arbitration award. The CBA does not name a specific entity to conduct the arbitrations
                                                                                             8

                                                                                             9 (such as NAM or AAA) but simply states that “any arbitration shall be conducted
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                                                                                            10 pursuant to such rules as the parties may agree upon.”
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                                                                                            11
                                                                                                                                        The Incident
                                                  2 S Biscayne Boulevard, Suite 1776




                                                                                            12
                                                                                                       17.    Prior to signing aboard the vessel, Plaintiff was required to undergo a
                                                           MIAMI, FL 33131




                                                                                            13

                                                                                            14 pre-employment physical and was found “fit for duty” with no restrictions.

                                                                                            15
                                                                                                       18.    On or about November 12, 2018, Plaintiff was injured while performing
                                                                                            16

                                                                                            17 her duties as a bar waitress when she was restocking her bar area and was required to

                                                                                            18 repeatedly carry heavy items without proper assistance or equipment for doing so.
                                                                                            19
                                                                                                       19.    Shortly after her incident, Plaintiff reported her injuries to the shipboard
                                                                                            20

                                                                                            21 medical personnel but was denied proper, timely and/or adequate medical care. Over

                                                                                            22 the next two weeks Plaintiff was given pain medication to mask her symptoms and

                                                                                            23
                                                                                                 was instructed and/or required to return to work while on the pain medication. This
                                                                                            24

                                                                                            25 exacerbated and worsened her condition.

                                                                                            26         20.    On or about November 25, 2018, the shipboard physician diagnosed
                                                                                            27
                                                                                                 Plaintiff with “cervico – brachialgia L side” and “pain L shoulder” with complaints
                                                                                            28
                                                                                                                                                5
                                                                                                                          Plaintiff’s Complaint and Demand for Jury Trial
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                                                                                             1
                                                                                                 of “left sided neck pain which radiated to her elbow.” He also requested that Plaintiff

                                                                                             2 be seen by an orthopedic surgeon on November 28, 2018 “for further evaluation and

                                                                                             3
                                                                                                 treatment.”
                                                                                             4

                                                                                             5         21.     Although the Plaintiff was injured while performing her duties in the

                                                                                             6 service of the vessel and the ship board physician had referred her to an orthopedic

                                                                                             7
                                                                                                 surgeon for further care, upon instruction of the ship’s manager Plaintiff was not
                                                                                             8

                                                                                             9 medically signed off but was forced to sign off for “early vacation.”
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                                                                                            10         22.     Upon her return home Plaintiff sought medical care and ultimately
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                                                                                            11
                                                                                                 required a cervical fusion as a result of her shipboard injuries suffered while working
                                                  2 S Biscayne Boulevard, Suite 1776




                                                                                            12

                                                                                            13 in service of the vessel.
                                                           MIAMI, FL 33131




                                                                                            14         23.     After improperly forcing the Plaintiff to sign off for early vacation, rather
                                                                                            15
                                                                                                 than on medical, Defendants have refused to provide her with her sick wages or her
                                                                                            16

                                                                                            17 Maintenance and Cure benefits as required under the law and in accordance with her

                                                                                            18 Employment Contract.
                                                                                            19
                                                                                                       24.     Defendants have further ignored Plaintiffs’ repeated requests to
                                                                                            20

                                                                                            21 commence Arbitration.

                                                                                            22         25.     Defendants have by their inaction waived their right to arbitration.
                                                                                            23
                                                                                                     COUNT I – JONES ACT NEGLIGENCE AS TO ALL DEFENDANTS
                                                                                            24

                                                                                            25         Plaintiff hereby incorporates by reference, as though fully set forth herein,
                                                                                            26 paragraphs one (1) through twenty five (25), and alleges as follows:
                                                                                            27
                                                                                                       26.     At all times material hereto, it was the duty of Defendants to provide
                                                                                            28
                                                                                                                                                  6
                                                                                                                            Plaintiff’s Complaint and Demand for Jury Trial
                                                                                           Case 2:19-cv-09281-MWF-JDE Document 1 Filed 10/29/19 Page 7 of 21 Page ID #:7




                                                                                             1
                                                                                                 Plaintiff with a reasonably safe place to work, including a competent crew.

                                                                                             2         27.    Pursuant to the Jones Act, Defendants are liable for injuries arising in
                                                                                             3
                                                                                                 whole or in part from the negligence of any officers, agents or employee of
                                                                                             4

                                                                                             5 Defendants, which includes the ship’s medical staff.

                                                                                             6         28.    As Plaintiff’s attending physicians the ship’s doctors exercised control
                                                                                             7
                                                                                                 and authority over the Plaintiff’s care and lack of care aboard the Serenity.
                                                                                             8

                                                                                             9         29.    In providing healthcare to the Plaintiff, the ship’s medical staff owed the
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                                                                                            10 Plaintiff a duty of reasonable care, which is that level of care, skill and treatment
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                                                                                            11
                                                                                                 which, in light of all relevant surrounding circumstances, is recognized as acceptable
                                                  2 S Biscayne Boulevard, Suite 1776




                                                                                            12

                                                                                            13 and appropriate by a reasonably prudent similar healthcare providers.
                                                           MIAMI, FL 33131




                                                                                            14         30.    At all times material hereto, all of Plaintiff’s injuries are due to the fault
                                                                                            15
                                                                                                 and negligence of Defendants, and/or their agents, servants, and/or employees as
                                                                                            16

                                                                                            17 follows:

                                                                                            18         a.     Failure to use reasonable care to provide and maintain proper and
                                                                                            19
                                                                                                              adequate machinery, crew and equipment; and/or
                                                                                            20

                                                                                            21         b.     Failure to use reasonable care to provide Plaintiff with a safe place to
                                                                                            22                work;
                                                                                            23
                                                                                                       c.     Failure to promulgate and enforce reasonable rules and regulations to
                                                                                            24

                                                                                            25                ensure the safety and health of the employees and more particularly the
                                                                                            26                Plaintiff, while engaged in the course of her employment on Serenity;
                                                                                            27
                                                                                                       d.     Failure to use reasonable care to provide Plaintiff a safe place to work
                                                                                            28
                                                                                                                                                 7
                                                                                                                           Plaintiff’s Complaint and Demand for Jury Trial
                                                                                           Case 2:19-cv-09281-MWF-JDE Document 1 Filed 10/29/19 Page 8 of 21 Page ID #:8




                                                                                             1
                                                                                                            due to:

                                                                                             2             1. Failing to provide proper crew and/or device(s) to stock the bar area;
                                                                                             3
                                                                                                           2. Failing to provide Plaintiff with proper lifting devices and/or sufficient
                                                                                             4

                                                                                             5                assistance to perform her job duties in a reasonably safe manner;

                                                                                             6             3. Failing to have adequate policies and procedures to prevent bar wait
                                                                                             7
                                                                                                              staff from becoming injured while repeatedly lifting heavy objects;
                                                                                             8

                                                                                             9             4. Requiring Plaintiff to lift and hold items which were too heavy for one
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                                                                                            10                person to safely lift and hold;
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                                                                                            11
                                                                                                           5. Failing to provide Plaintiff with proper training and/or supervision
                                                  2 S Biscayne Boulevard, Suite 1776




                                                                                            12
                                                                                                              with respect to repetitive heavy lifting;
                                                           MIAMI, FL 33131




                                                                                            13

                                                                                            14             6. Failing to warn Plaintiff of the dangers of doing repetitive heavy
                                                                                            15
                                                                                                              lifting;
                                                                                            16

                                                                                            17             7. Failing to provide adequate manpower to perform the work assigned

                                                                                            18                Plaintiff;
                                                                                            19
                                                                                                           8. Creating a working environment where crewmembers are discouraged
                                                                                            20

                                                                                            21                and/ or unable to assist each other with duties;
                                                                                            22             9. Creating a working environment where crewmembers are rushed to
                                                                                            23
                                                                                                              complete their duties;
                                                                                            24

                                                                                            25             10.Requiring Plaintiff to continue repetitive heavy lifting and/or heavy
                                                                                            26                lifting duties, despite her injury;
                                                                                            27
                                                                                                           11.Sending Plaintiff back to work on pain killers after her injury;
                                                                                            28
                                                                                                                                                 8
                                                                                                                           Plaintiff’s Complaint and Demand for Jury Trial
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                                                                                             1
                                                                                                           12.Requiring Plaintiff to work with an injury;

                                                                                             2             13.Creating a work environment where crewmembers are sent back to the
                                                                                             3
                                                                                                              true nature and extent of their injuries being determined; and/or
                                                                                             4

                                                                                             5             14.Failing to warn Plaintiff of the dangers of working with an injury;

                                                                                             6             15.Failing to warn Plaintiff of the dangers of working on pain killers
                                                                                             7
                                                                                                              while injured;
                                                                                             8

                                                                                             9             16.Failing to properly diagnose and/or treat Plaintiff’s injuries; and/or
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                                                                                            10             17.Failing to provide Plaintiff with prompt, proper and adequate medical
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                                                                                            11
                                                                                                              treatment.
                                                  2 S Biscayne Boulevard, Suite 1776




                                                                                            12
                                                                                                      e.    Failure to provide adequate instruction and supervision to crewmembers
                                                           MIAMI, FL 33131




                                                                                            13

                                                                                            14              and Plaintiff;
                                                                                            15
                                                                                                      f.    Failure to provide prompt, proper, and adequate medical care to the
                                                                                            16

                                                                                            17              Plaintiff when she sought medical attention for her condition;

                                                                                            18        g.    Failing to properly diagnose and treat the Plaintiff’s condition;
                                                                                            19
                                                                                                      h.    Failure to provide Plaintiff and other crewmembers who were associated
                                                                                            20

                                                                                            21              with Plaintiff or Plaintiff’s incident(s) giving rise to this action,
                                                                                            22              reasonable hours of employment so as to not overwork them to the point
                                                                                            23
                                                                                                            of not being physically fit to carry out their duties. Defendants’
                                                                                            24

                                                                                            25              employees are overworked to the point of fatigue;
                                                                                            26        i.    Failure to learn and apply the common and well-known principles of
                                                                                            27
                                                                                                            industrial ergonomics and apply them on board the Serenity; and/or
                                                                                            28
                                                                                                                                               9
                                                                                                                         Plaintiff’s Complaint and Demand for Jury Trial
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                                                                                              1
                                                                                                       j.    Failure to incorporate modern work methods, procedures, and material

                                                                                              2              handling techniques on board the Serenity;
                                                                                              3
                                                                                                       k.    Failure to properly train workers (such as Plaintiff to lift heavy objects)
                                                                                              4

                                                                                              5              and to staff the proper amount of workers, which results in

                                                                                              6              small/undersized work crews improperly doing jobs that are traditionally
                                                                                              7
                                                                                                             handled by larger crews;
                                                                                              8

                                                                                              9        l.    Failing to provide Plaintiff with mechanized aids commonly available in
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                                                                                             10              other industries and at comparable land based jobs;
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                                                                                             11
                                                                                                       m.    Failing to ascertain the cause of prior similar accidents/incidents so as to
                                                  2 S Biscayne Boulevard, Suite 1776




                                                                                             12
                                                                                                             take measures to prevent their re-occurrence, and more particularly
                                                           MIAMI, FL 33131




                                                                                             13

                                                                                             14              Plaintiff's accident;
                                                                                             15
                                                                                                       n.    Failure to follow sound management practices with the goal of providing
                                                                                             16

                                                                                             17              Plaintiff a reasonably safe place to work;

                                                                                             18        o.    Failure to investigate the hazards to Plaintiff before Plaintiff’s incident(s)
                                                                                             19
                                                                                                             and then take the necessary steps to eliminate the hazards, minimize the
                                                                                             20

                                                                                             21              hazard or warn Plaintiff of the danger from the hazard;
                                                                                             22        p.    Failure to adhere to the Seafarers’ Hours of Work and the Manning of
                                                                                             23
                                                                                                             Ships Convention, 1996: with respect to the hours of work and rest as
                                                                                             24

                                                                                             25              well as other standards such as ILO 147;
                                                                                             26        q.    Failed to select and utilize competent, skilled, and properly trained
                                                                                             27
                                                                                                             medical care providers on board and shore side, having adequate
                                                                                             28
                                                                                                                                                10
                                                                                                                          Plaintiff’s Complaint and Demand for Jury Trial
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                                                                                              1
                                                                                                               expertise with which to provide the Plaintiff with prompt, proper and

                                                                                              2                adequate medical care; and/or
                                                                                              3
                                                                                                        r.     Failure to provide Plaintiff with enough sleeping time so as to cause
                                                                                              4

                                                                                              5                Plaintiff and the other crewmembers on the Serenity the same physical

                                                                                              6                and mental impairments as being drunk. These type of impairments have
                                                                                              7
                                                                                                               been documented in the Journal of Occupational and Environmental
                                                                                              8

                                                                                              9                Medicine; 57:649-655 (October 2000);
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                                                                                             10         s.     Failure to properly medically manage Plaintiff’s medical care after
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                                                                                             11
                                                                                                               Plaintiff was injured and sought care;
                                                  2 S Biscayne Boulevard, Suite 1776




                                                                                             12
                                                                                                        t.     Other acts or omissions constituting a breach of the duties owed to the
                                                           MIAMI, FL 33131




                                                                                             13

                                                                                             14                Plaintiff which are revealed through discovery.
                                                                                             15
                                                                                                        31.    At all material times hereto, Defendant violated the International Safety
                                                                                             16

                                                                                             17 Management Code and failed to have a proper, adequate and safe Safety Management

                                                                                             18 System Manual and/or to follow it on board the Serenity.
                                                                                             19
                                                                                                        32.    All of the above caused the Plaintiff to be injured and to receive negligent
                                                                                             20

                                                                                             21 and inadequate medical care for her injuries.

                                                                                             22         33.    At all times material hereto, Defendant knew of the foregoing conditions
                                                                                             23
                                                                                                  causing Plaintiff’s incident and did not correct them, or the conditions existed for a
                                                                                             24

                                                                                             25 sufficient length of time so that Defendants, in the exercise of reasonable care, should

                                                                                             26 have learned of them and corrected them.
                                                                                             27
                                                                                                        34.    As a result of the negligence of Defendants, the Plaintiff was injured
                                                                                             28
                                                                                                                                                 11
                                                                                                                           Plaintiff’s Complaint and Demand for Jury Trial
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                                                                                              1
                                                                                                  about Plaintiff’s body and extremities, suffered physical pain and suffering, mental

                                                                                              2 anguish, reasonable fear of developing future physical and medical problems, loss of

                                                                                              3
                                                                                                  enjoyment of life, physical disability, impairment, inconvenience in the normal
                                                                                              4

                                                                                              5 pursuits and pleasures of life, feelings of economic insecurity caused by disability,

                                                                                              6 disfigurement, aggravation of any previously existing conditions therefrom, incurred

                                                                                              7
                                                                                                  medical expenses in the care and treatment of Plaintiff’s injuries, suffered physical
                                                                                              8

                                                                                              9 handicap, lost wages, lost income in the past, and her working ability and earning
LIPCON, MARGULIES, ALSINA & WINKLEMAN P.A.




                                                                                             10 capacity have been impaired. These injuries and damages are permanent or continuing
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                                                                                             11
                                                                                                  in nature, and Plaintiff will suffer these losses and impairments in the future. In
                                                  2 S Biscayne Boulevard, Suite 1776




                                                                                             12

                                                                                             13 addition, Plaintiff in the past and in the future has lost the fringe benefits that come
                                                           MIAMI, FL 33131




                                                                                             14 with Plaintiff’s job, including but not limited to found, free food, free shelter, free

                                                                                             15
                                                                                                  medical care, free uniforms, vacation, and free airline ticket home and back.
                                                                                             16

                                                                                             17         WHEREFORE, Plaintiff demands all damages entitled by law and demands

                                                                                             18 jury trial of all issues so triable.
                                                                                             19
                                                                                                      COUNT II – UNSEAWORTHINESS AS TO DEFENDANT CRYSTAL
                                                                                             20

                                                                                             21         Plaintiff realleges, incorporates by reference and adopts paragraphs one (1)
                                                                                             22 through twenty five (25) as though they were originally alleged herein.

                                                                                             23
                                                                                                        35.    On or about the above-stated dates, Plaintiff was a seaman and a member
                                                                                             24

                                                                                             25 of the crew of Serenity, which was in navigable waters.

                                                                                             26         36.    At all times material hereto, Serenity was owned, managed, operated
                                                                                             27
                                                                                                  and/or controlled by Defendant.
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                                                                                                                            Plaintiff’s Complaint and Demand for Jury Trial
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                                                                                                       37.    Defendant had the absolute non-delegable duty to provide Plaintiff with

                                                                                              2 a seaworthy vessel.

                                                                                              3
                                                                                                       38.    On or about the above-stated dates, the unseaworthiness of Defendant’s
                                                                                              4

                                                                                              5 vessel was a legal cause of injury and damage to Plaintiff by reason of the following:

                                                                                              6        a.     The vessel was unsafe and unfit due to the conditions created by
                                                                                              7
                                                                                                              Defendant as follows:
                                                                                              8

                                                                                              9              1. Failing to provide the proper crew and/or other device(s) for repetitive
LIPCON, MARGULIES, ALSINA & WINKLEMAN P.A.




                                                                                             10                  lifting;
                                             TELEPHONE: (305)373-3016 FAX: (305)373-6204




                                                                                             11
                                                                                                             2. Failing to have adequate policies and procedures to prevent bar wait
                                                  2 S Biscayne Boulevard, Suite 1776




                                                                                             12
                                                                                                                 staff from becoming injured while repeatedly lifting heavy objects;
                                                           MIAMI, FL 33131




                                                                                             13

                                                                                             14              3. Requiring Plaintiff to lift, hold and carry items which were too heavy
                                                                                             15
                                                                                                                 for one person to safely lift, hold and carry in the manner required by
                                                                                             16

                                                                                             17                  the Defendant;

                                                                                             18              4. Failing to provide Plaintiff with proper training and/or supervision
                                                                                             19
                                                                                                                 with respect to repetitive heavy lifting and/or heavy lifting;
                                                                                             20

                                                                                             21              5. Failing to warn the Plaintiff of the dangers of doing repetitive heavy
                                                                                             22                  lifting and/or heavy lifting;
                                                                                             23
                                                                                                             6. Failing to provide adequate manpower to perform the work assigned
                                                                                             24

                                                                                             25                  to Plaintiff;
                                                                                             26              7. Creating a working environment where crewmembers are discouraged
                                                                                             27
                                                                                                                 and/ or unable to assist each other with duties;
                                                                                             28
                                                                                                                                                  13
                                                                                                                            Plaintiff’s Complaint and Demand for Jury Trial
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                                                                                              1
                                                                                                            8. Creating a working environment where crewmembers are rushed to

                                                                                              2                 complete their duties;
                                                                                              3
                                                                                                            9. Requiring Plaintiff to continue repetitive heavy lifting and/or heavy
                                                                                              4

                                                                                              5                 lifting duties, despite her injury;

                                                                                              6             10. Sending Plaintiff back to work on pain killers after her injury;
                                                                                              7
                                                                                                            11. Requiring Plaintiff to work while injured;
                                                                                              8

                                                                                              9             12. Creating a work environment where crewmembers are encouraged to
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                                                                                             10                 return to work while injured;
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                                                                                             11
                                                                                                            13. Failing to warn Plaintiff of the dangers of working while injured;
                                                  2 S Biscayne Boulevard, Suite 1776




                                                                                             12
                                                                                                            14. Failing to warn Plaintiff of the dangers of working on pain killers
                                                           MIAMI, FL 33131




                                                                                             13

                                                                                             14                 while injured;
                                                                                             15
                                                                                                            15. Failing to properly diagnose and/or treat Plaintiff’s injuries; and/or
                                                                                             16

                                                                                             17             16. Failing to provide Plaintiff with prompt, proper and adequate medical

                                                                                             18                 treatment.
                                                                                             19
                                                                                                       b.    The vessel was not reasonably fit for its intended purpose;
                                                                                             20

                                                                                             21        c.    The vessel’s crew were not properly trained, instructed or supervised;
                                                                                             22        d.    The vessel did not have a fit crew;
                                                                                             23
                                                                                                       e.    The vessel did not have adequate manpower for the task(s) being
                                                                                             24

                                                                                             25              performed;
                                                                                             26        f.    The crew and Plaintiff were overworked to the point of being exhausted
                                                                                             27
                                                                                                             and not physically fit to carry out their duties;
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                                                                                                                                                14
                                                                                                                          Plaintiff’s Complaint and Demand for Jury Trial
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                                                                                              1
                                                                                                        g.    Failed to select and utilize competent, skilled and properly trained

                                                                                              2               medical care providers on board and shore side, with adequate expertise
                                                                                              3
                                                                                                              with which to provide the Plaintiff with prompt, proper and adequate
                                                                                              4

                                                                                              5               medical care and failing to equip the vessel’s medical facility with proper

                                                                                              6               and adequate medical equipment.
                                                                                              7
                                                                                                        h.    The vessel’s medical staff negligently treated and medically managed
                                                                                              8

                                                                                              9               Plaintiff’s medical care after she was injured, causing a worsening of her
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                                                                                             10               condition.
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                                                                                             11
                                                                                                        39.   All of the above caused the Serenity to be unseaworthy and unfit for its
                                                  2 S Biscayne Boulevard, Suite 1776




                                                                                             12

                                                                                             13 intended purpose, thereby causing the Plaintiff to be injured and to receive negligent
                                                           MIAMI, FL 33131




                                                                                             14 and inadequate medical care for her injuries.

                                                                                             15
                                                                                                        40.   As a result of the unseaworthiness of the vessel, the Plaintiff was injured
                                                                                             16

                                                                                             17 about Plaintiff’s body and extremities, suffered physical pain and suffering, mental

                                                                                             18 anguish, reasonable fear of developing future physical and medical problems, loss of
                                                                                             19
                                                                                                  enjoyment of life, physical disability, impairment, inconvenience in the normal
                                                                                             20

                                                                                             21 pursuits and pleasures of life, feelings of economic insecurity caused by disability,

                                                                                             22 disfigurement, aggravation of any previously existing conditions therefrom, incurred

                                                                                             23
                                                                                                  medical expenses in the care and treatment of Plaintiff’s injuries, suffered physical
                                                                                             24

                                                                                             25 handicap, lost wages, lost income in the past, and Plaintiff’s working ability and

                                                                                             26 earning capacity have been impaired. These injuries and damages are permanent or
                                                                                             27
                                                                                                  continuing in nature, and Plaintiff will suffer these losses and impairments in the
                                                                                             28
                                                                                                                                                 15
                                                                                                                           Plaintiff’s Complaint and Demand for Jury Trial
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                                                                                              1
                                                                                                  future. In addition, Plaintiff in the past and in the future has lost the fringe benefits

                                                                                              2 that come with Plaintiff’s job, including but not limited to found, free food, free

                                                                                              3
                                                                                                  shelter, free medical care, free uniforms, vacation, and free airline ticket home and
                                                                                              4

                                                                                              5 back.

                                                                                              6          WHEREFORE, Plaintiff demands all damages entitled by law and demands
                                                                                              7
                                                                                                  jury trial of all issues so triable.
                                                                                              8

                                                                                              9        COUNT III - FAILURE TO PROVIDE MAINTENANCE AND CURE
                                                                                                                        AS TO ALL DEFENDANTS
LIPCON, MARGULIES, ALSINA & WINKLEMAN P.A.




                                                                                             10
                                                                                                         Plaintiff realleges, incorporates by reference, and adopts paragraphs one (1)
                                             TELEPHONE: (305)373-3016 FAX: (305)373-6204




                                                                                             11
                                                  2 S Biscayne Boulevard, Suite 1776




                                                                                             12 through twenty five (25) as though they were originally alleged herein.
                                                           MIAMI, FL 33131




                                                                                             13
                                                                                                         41.    On or about the above-stated dates, Plaintiff was injured while in the
                                                                                             14

                                                                                             15 service of the vessel as a crewmember.

                                                                                             16          42.    Under the General Maritime Law and by operation of treaty, Plaintiff, as
                                                                                             17
                                                                                                  a seafarer, is entitled to recover maintenance and cure from Defendant, until declared
                                                                                             18
                                                                                             19 to have reached maximum possible cure. This includes unearned wages (regular

                                                                                             20 wages, overtime, vacation pay and tips), which are reasonably anticipated to the end

                                                                                             21
                                                                                                  of the contract or voyage whichever is longer.
                                                                                             22

                                                                                             23          43.    Defendants failed to provide Plaintiff with prompt, proper and adequate
                                                                                             24 medical care for her injuries. Defendants failed to provide Plaintiff with timely

                                                                                             25
                                                                                                  maintenance and cure benefits. Defendants failed to promptly authorize and/or
                                                                                             26
                                                                                             27 provide medical care for Plaintiff. Defendants failed to promptly reimburse Plaintiff

                                                                                             28
                                                                                                                                                    16
                                                                                                                              Plaintiff’s Complaint and Demand for Jury Trial
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                                                                                              1
                                                                                                  for out of pocket medical expenses.

                                                                                              2              44.      Defendants willfully and callously delayed, failed and refused to pay
                                                                                              3
                                                                                                  Plaintiff’s entire maintenance and cure so that Plaintiff has become obligated to pay
                                                                                              4

                                                                                              5 the undersigned a reasonable attorney’s fee.

                                                                                              6              45.      Defendants’ failure to pay Plaintiff’s entire maintenance and cure is
                                                                                              7
                                                                                                  willful, arbitrary, capricious, and in callous disregard for Plaintiff’s rights as a
                                                                                              8

                                                                                              9 seafarer. As such, Plaintiff would be entitled to attorney’s fee under the General
LIPCON, MARGULIES, ALSINA & WINKLEMAN P.A.




                                                                                             10 Maritime Law of the United States. Further Defendant unreasonably failed to pay or
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                                                                                             11
                                                                                                  provide Plaintiff with maintenance and cure which aggravated her condition and
                                                  2 S Biscayne Boulevard, Suite 1776




                                                                                             12

                                                                                             13 caused Plaintiff to suffer additional compensatory damages including but not limited
                                                           MIAMI, FL 33131




                                                                                             14 to the aggravation of Plaintiff’s physical condition, disability, pain and suffering,

                                                                                             15
                                                                                                  reasonable fear of developing future physical and medical problems, mental anguish,
                                                                                             16

                                                                                             17 loss of enjoyment of life, feelings of economic insecurity as well as lost earnings or

                                                                                             18 earning capacity, and medical and hospital expenses in the past and into the future.
                                                                                             19
                                                                                                             WHEREFORE, Plaintiff demands all damages entitled by law, including
                                                                                             20

                                                                                             21 punitive damages and attorney’s fees and demands jury trial of all issues so triable.
                                                                                                                2


                                                                                             22

                                                                                             23

                                                                                             24                                     COUNT IV - FAILURE TO TREAT
                                                                                             25                                       AS TO EACH DEFENDANT
                                                                                             26
                                                                                             27   2
                                                                                                      Pursuant to the United States Supreme Court case of Atlantic Sounding Co., Inc., et al. v. Townsend, 557 U.S. 404
                                                                                             28 (2009).
                                                                                                                                                             17
                                                                                                                                       Plaintiff’s Complaint and Demand for Jury Trial
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                                                                                              1
                                                                                                       Plaintiff realleges, incorporates by reference and adopts paragraphs one (1)

                                                                                              2 through twenty five (25) as though originally alleged herein.

                                                                                              3
                                                                                                       46.    On or about the above-stated dates, Plaintiff was employed by
                                                                                              4

                                                                                              5 Defendants as a seafarer and was a member of the vessel’s crew. The vessel was in

                                                                                              6 navigable waters.

                                                                                              7
                                                                                                       47.    At all times material hereto, it was the duty of Defendants to provide
                                                                                              8

                                                                                              9 Plaintiff with prompt, proper and adequate medical care.
LIPCON, MARGULIES, ALSINA & WINKLEMAN P.A.




                                                                                             10        48.    At all times material hereto, Defendant (through the ship’s physicians
                                             TELEPHONE: (305)373-3016 FAX: (305)373-6204




                                                                                             11
                                                                                                  and/or shoreside physicians and nurses) negligently failed to promptly provide
                                                  2 S Biscayne Boulevard, Suite 1776




                                                                                             12

                                                                                             13 Plaintiff with prompt, proper, adequate, and complete medical care. This conduct
                                                           MIAMI, FL 33131




                                                                                             14 includes, but is not limited to:

                                                                                             15
                                                                                                       a.     Defendants not giving Plaintiff medical care after it was recommended
                                                                                             16

                                                                                             17               by the ship board doctor and forcing the Plaintiff to sign off on early

                                                                                             18               vacation;
                                                                                             19
                                                                                                       b.     Defendants not giving Plaintiff medical care in a timely manner after she
                                                                                             20

                                                                                             21               presented with her complaints to the ship’s doctor and/or nurse seeking
                                                                                             22               treatment for her condition;
                                                                                             23
                                                                                                       c.     Defendants not properly diagnosing Plaintiff’s injury;
                                                                                             24

                                                                                             25        d.     Defendant not providing Plaintiff with prompt, proper, and/or adequate
                                                                                             26               medical care after his injury;
                                                                                             27
                                                                                                       e.     Defendant not referring and/or transporting Plaintiff to an onshore
                                                                                             28
                                                                                                                                                 18
                                                                                                                           Plaintiff’s Complaint and Demand for Jury Trial
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                                                                                              1
                                                                                                               medical hospital for Plaintiff to receive prompt, proper, complete and

                                                                                              2                adequate medical care for his injuries;
                                                                                              3
                                                                                                        f.     Defendant sending Plaintiff back to work while she was still injured and
                                                                                              4

                                                                                              5                on pain medication;

                                                                                              6         g.     Defendant not reimbursing and/or not timely reimbursing Plaintiff for
                                                                                              7
                                                                                                               her out-of-pocket medical expenses;
                                                                                              8

                                                                                              9         h.     Defendant not authorizing and/or not timely authorizing/providing
LIPCON, MARGULIES, ALSINA & WINKLEMAN P.A.




                                                                                             10                Plaintiff with medical care; and/or
                                             TELEPHONE: (305)373-3016 FAX: (305)373-6204




                                                                                             11
                                                                                                        i.     Defendant prematurely terminating Plaintiff’s medical care.
                                                  2 S Biscayne Boulevard, Suite 1776




                                                                                             12
                                                                                                        49.    As a direct and proximate result of Defendants’ failure, Plaintiff suffered
                                                           MIAMI, FL 33131




                                                                                             13

                                                                                             14 additional pain, disability and/or Plaintiff’s recovery was prolonged.

                                                                                             15
                                                                                                        50.    In addition, the Plaintiff was injured about Plaintiff’s body and
                                                                                             16

                                                                                             17 extremities, suffered physical pain and suffering, mental anguish, reasonable fear of

                                                                                             18 developing future physical and medical problems, loss of enjoyment of life, physical
                                                                                             19
                                                                                                  disability, impairment, inconvenience in the normal pursuits and pleasures of life,
                                                                                             20

                                                                                             21 feelings of economic insecurity caused by disability, disfigurement, aggravation of

                                                                                             22 any previously existing conditions therefrom, incurred additional medical expenses

                                                                                             23
                                                                                                  in the care and treatment of Plaintiff’s injuries, suffered physical handicap, lost wages,
                                                                                             24

                                                                                             25 lost income in the past, and Plaintiff’s working ability and earning capacity have been

                                                                                             26 impaired. These injuries and damages are permanent or continuing in nature, and
                                                                                             27
                                                                                                  Plaintiff will suffer these losses and impairments in the future.
                                                                                             28
                                                                                                                                                  19
                                                                                                                            Plaintiff’s Complaint and Demand for Jury Trial
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                                                                                                        51.    This Count is alleged separately from Jones Act Negligence pursuant to

                                                                                              2 Joyce v. Atlantic Richfield Company, 651 F.2d 676 (10th Cir. 1981) which states, in

                                                                                              3
                                                                                                  part, “Negligent failure to provide prompt medical attention to a seriously injured
                                                                                              4

                                                                                              5 seaman gives rise to a separate claim for relief [for which separate damages are

                                                                                              6 awardable].”

                                                                                              7
                                                                                                        WHEREFORE, Plaintiff demands all damages entitled by law and demands
                                                                                              8

                                                                                              9 jury trial of all issues so triable.
LIPCON, MARGULIES, ALSINA & WINKLEMAN P.A.




                                                                                             10                                        Prayer for Relief
                                             TELEPHONE: (305)373-3016 FAX: (305)373-6204




                                                                                             11
                                                                                                        WHEREFORE, the Plaintiff respectfully requests the Court enter judgment in
                                                  2 S Biscayne Boulevard, Suite 1776




                                                                                             12

                                                                                             13 his favor and against the Defendant as follow:
                                                           MIAMI, FL 33131




                                                                                             14         1.     To enter judgment in favor of the Plaintiff against Defendants on all
                                                                                             15
                                                                                                               causes of action as alleged herein;
                                                                                             16

                                                                                             17         2.     To award compensatory damages in an amount to be ascertained at trial;

                                                                                             18         3.     To award maintenance and cure;
                                                                                             19
                                                                                                        4.     To award the costs of suit, and punitive damages as permitted by law;
                                                                                             20

                                                                                             21         5.     For attorney’s fees and costs of prosecution for the non-payment or
                                                                                             22                underpayment of maintenance and cure benefits as delineated above;
                                                                                             23
                                                                                                        6.     For prejudgment interest according to proof; and
                                                                                             24

                                                                                             25         7.     To enter such other and further relief as the Court deems just under the
                                                                                             26                circumstances.
                                                                                             27

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                                                                                                                                                  20
                                                                                                                            Plaintiff’s Complaint and Demand for Jury Trial
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                                                                                                                                            LIPCON MARGULIES ALSINA & WINKLEMAN
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                                                                                              3
                                                                                                  DATED: October ___, 2019.

                                                                                              4

                                                                                              5                                             BY: s/ Carol L. Finklehoffe
                                                                                                                                                CAROL L. FINKLEHOFFE
                                                                                              6                                                 Attorney for Plaintiff
                                                                                              7

                                                                                              8                                  Demand for Jury Trial
                                                                                              9
                                                                                                          Plaintiff JELENA FILIPOVIC hereby demands a trial by jury on all claims for
LIPCON, MARGULIES, ALSINA & WINKLEMAN P.A.




                                                                                             10

                                                                                             11 relief.
                                             TELEPHONE: (305)373-3016 FAX: (305)373-6204
                                                  2 S Biscayne Boulevard, Suite 1776




                                                                                             12
                                                                                                                                            LIPCON MARGULIES ALSINA & WINKLEMAN
                                                           MIAMI, FL 33131




                                                                                             13

                                                                                             14 DATED: October ____, 2019.

                                                                                             15

                                                                                             16                                             BY: s/ Carol L. Finklehoffe
                                                                                             17                                                 CAROL L. FINKLEHOFFE
                                                                                                                                                Attorney for Plaintiff
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                                                                                                                                                 21
                                                                                                                           Plaintiff’s Complaint and Demand for Jury Trial
